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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE                            Tf1
                                V.                                  (For Offenses Committed On or After November 1, 1987)
                WILEY JUNIUS GREENO (18)
                                                                       Case Number:         l4CR3537-BAS

                                                                    MICHAEL LITTMAN
                                                                    Defendant's Attorney
REGISTRATION NO.                    48897298
 o
 ~     pleaded guilty to count(s)      ONE (1) OF THE INDICTMENT

 o was found guilty on count(s)
     after a plea of not ~ui1ty.
 Accordingly, the defendant is adjudged guilty of such count(s),which involve the following offense(s):
                                                                                                                     Count
 Title & Section                     Nature of Offense  . ..      . .                                               Number(s)
 18 USC 1962(d)                      CONSPIRACY TO CONOUCTENTERPRISE AFFAIRS                                           1
                                     THROUGH A PATTERN OF RACKETEERING ACTNITY




     The defendant is sentenced as provided in pages 2 through                 4.          ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                    is          dismissed on the motion of the United States.

 CEJ    Assessment: $100.00




 CEJ    No fine         0 Forfeiture pursuant to order filed                                         , included herein.
          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of ally
 change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstarices .


                                                                    . SEPTEMBER 21. 2015
                                                                     Date of Imposition of Sentence



                                                                     HO.W
                                                                     UNITED STATES DISTRICT JUDGE


                                                                                                                    14CR3537-BAS
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                                                      IMPRISONMENT
    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term 'af:
    TWENTY ONE (21) MONTHS.




    o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
    !8J    The court makes the following recommendations to the Bureau of Prisons:
           THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN
           CALIFORNIA TO BE CLOSER TO HIS SON.




    o      The defendant is remanded to the custody ofthe United States Marshal.

    o      The defendant shall surrender to the United States Marshal for this district:
            o    at
                      ------------~--
                                                 A.M.                on
            o    as notified by the United States Marshal~, •' .,'

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of
           Prisons:
            o    on or before
            o    as notified by the United States Marshal. ,
            o    as notified by the Probation or Pretrial Services Office.

                                                             RETURN
     I have executed this judgment as follows:

            Defendant delivered on                                            to
                                     --------------~~~--~                          ----~--------~----------
     at
          ----------------------- , with a certified copy of thisjudgment.
                                                                          lJNITED STATES MARSHAL



                                          By                     DEPUTY UNITED STATES MARSHAL


                                                                                                            14CR3537-BAS
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the (,':ourt's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm,. ammunition, destnIctive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant,pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USCsec~on 3.583(a)(7)and 3583(d) ..
       The defendant shall comply with the requirements of the SexOffender Registration and Notification Act (42 U.S.C. § 16901, et
 o     seq.) as directed by the probation officer, the Bureau ofPrisons, orany state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
 o     The defendant shall participate in an approved pro~for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or. Ii restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedut.~ of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditiolls th~t have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                         STANDARD CONDITIONS OFSUPERVISION
      1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as pf!:scribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activityandshallnot associate with any person convicted of a felony,
          unless granted permission to do so by ~e probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
      11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
      13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation~fficer to make such notifications and to confirm the defendant's complianc~
           with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION

      1. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
         by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
         reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
         to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
         may be subject to searches pursuant to this condition.

      2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
         and counseling, as directed by the probation officer. Allow for reciprocal release of information between
         the probation officer and the treatment provider. May be required to contribute to the costs of services
         rendered in an amount to be determined by the .probation officer, based on ability to pay.

      3. Shall not knowingly associate with any member, prospect, or associate of the Tycoons, Add it Up, or
          any other gang or club with a history of criminal activity, unless given permission by the probation
          officer.


      4. Shall not wear or possess any paraphernalia,ihsignia, clothing, photographs, or any other materials
          associated with a gang, unless given permission by the probation officer.


      5. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless
         permission by the probation officer.


      6. Resolve all outstanding warrants within 60 days.

      7. Shall not knowingly associate with prostitutes·or pimps and/or loiter in areas frequented by those
          engaged in prostitution and sex trafficking.




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